391 F.2d 598
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.DIFCO LABORATORIES, INC., Respondent.
    No. 17618.
    United States Court of Appeals Sixth Circuit.
    March 6, 1968.
    
      Leon Kestenbaum, N.L.R.B., Washington, D.C., Arnold Ordman, General Counsel, Dominick L. Manoli, Associate General Counsel, Marcel Mallet-Prevost, Asst. General Counsel, Paul J. Spielberg, Evalyn Gutman, Attorneys, N.L.R.B., Washington, D.C., on brief for petitioner.
      Frederick B. Schwarze, Detroit, Mich., Leonard A. Keller, Detroit, Mich., on brief for respondent.
      Before WEICK, Chief Judge, and EDWARDS and PECK, Circuit Judges.
      PER CURIAM.
    
    
      1
      The three isolated incidents and the general language employed by respondent's agents when considered against the background facts of this case (including those set forth in N.L.R.B. v. Difco Laboratories, Inc., 389 F.2d 663 (6th Cir. 1968) do not in the judgment of this court represent substantial evidence to support the National Labor Relations Board's findings of threats in violation of section 8(a)(1) of the National Labor Relations Act, 29 U.S.C. 158(a)(1) (1964).  See Suprenant Mfg. Co. v. N.L.R.B., 341 F.2d 756 (6th Cir. 1965).
    
    
      2
      Enforcement of the Board's order is denied.
    
    